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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 3 SQUARES LLC, D/B/A 3 SQUARES
 DINER, and YUSHO LLC, D/B/A JAM
 RESTAURANT,
                                               Case Number:
                       Plaintiffs

              vs.                              JURY TRIAL DEMANDED

 THE CINCINNATI INSURANCE
 COMPANY,

                       Defendant



 CLASS ACTION COMPLAINT AND REQUEST FOR DECLARATORY RELIEF

         Plaintiffs, 3 SQUARES LLC, D/B/A 3 SQUARES DINER and YUSHO LLC,

D/B/A JAM RESTAURANT, by and through undersigned counsel, state as follows for

their Complaint and Request for Declaratory Relief against the defendant THE

CINCINNATI INSURANCE COMPANY.:

   I.       INTRODUCTION

         This is a class action brought by Plaintiffs, 3 Squares LLC, d/b/a 3 Squares

Diner and Yusho LLC, d/b/a Jam Restaurant, against Defendant The Cincinnati

Insurance Company, related to an insurance policy that insures Plaintiffs’ property,

business operations, and potential liabilities in connection with Plaintiffs’ business

operations, which includes coverage for Business Income (“BI”), Extra Expense (“EE”)

coverage, and coverage for loss due to the actions of a Civil Authority.




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      Plaintiffs made premium payments expecting in their time of need The

Cincinnati Insurance Company would make good on its contractual obligations under

the policy it wrote and issued. Then last month, Plaintiffs were forced to shut down

their businesses due to the COVID-19 pandemic. Specifically, effective March 16,

2020, during the term of the policy issued by The Cincinnati Insurance Company to

Plaintiffs, Illinois Governor Pritzker issued an order closing all restaurants and bars

to the public in an effort to address the pandemic. This has resulted in losses to

businesses throughout the state of Illinois. Indeed, many businesses had to alter or

shutter operations due to orders from Civil Authorities, such as the Illinois Governor

and Director of Public Health. As a result, many insureds filed insurance claims for

coverage for loss of BI, EE coverage, and coverage for loss due to the actions of a Civil

Authority

      Upon     information    and   belief,       The   Cincinnati   Insurance   Company

systematically denied and or claimed a reservation of rights refusing to pay on

insurance claims brought by Plaintiffs—and hundreds of other putative class

members —for coverage for losses stemming from the presence of SARS-CoV-2 and

the COVID-19 pandemic, including of BI, EE coverage, and coverage for loss due to

the actions of a Civil Authority. Defendant’s decision not to provide coverage and/or

its decision to reserve its rights and refuse to pay claims under the common policy

form(s) issued to Plaintiffs and the putative class members gives rise to Plaintiffs’

and the putative class members’ right to seek declaratory judgment pursuant to 735

ILCS 5/2-701 establishing that they are entitled to receive the benefit of the insurance



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coverage they purchased and for indemnification of the business losses they have

sustained.

   II.        PARTIES, JURISDICTION AND VENUE

         1.     Plaintiffs, 3 Squares LLC, d/b/a 3 Squares Diner and Yusho LLC, d/b/a

Jam Restaurant (collectively referred to as “Plaintiffs”), are both limited liability

corporations organized under Illinois law with their principal places of business in

Chicago, Cook County, Illinois.

         2.     One or more of the members of Plaintiffs are citizens of the state of

Illinois.

         3.     Plaintiff 3 Squares LLC is the owner and operator of 3 Squares Diner

located at 1020 W. Lawrence Ave., Chicago, IL 60640.

         4.     Plaintiff Yusho LLC is the owner and operator of Jam Restaurant

located at 2853 N. Kedzie Ave., Chicago, IL 60640

         5.     Defendant The Cincinnati Insurance Company (“CIC”) is an Ohio

corporation with its principal place of business in Ohio. CIC is an insurance company

engaged in the business of selling insurance contracts to commercial entities such

as Plaintiffs in Illinois and elsewhere. CIC is incorporated in the State of Ohio and

maintains its principal place of business in Ohio.

         6.     The Court has subject matter jurisdiction over this matter under 28

U.S.C. 1332(a), because this matter involves citizens of different states and the

amount in controversy exceeds $75,000.




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       7.       The Court has subject matter jurisdiction over this matter under 28

U.S.C.1332(d)(2) and (6), as amended by the Class Action Fairness Act of 2005,

because this matter was brought as a class action, the aggregate claims of the

putative Class members exceed $5,000,000, exclusive of interest and costs, and at

least one member of the putative Class is a citizen of a different state than CIC.

   III.      FACTUAL SUMMARY

             A. The Insurance Policy

       8.       This action is brought by Plaintiffs, individually and on behalf of all

other similarly situated insureds, that have been denied their contractual rights

under common policy forms due to Defendant’s decision not to provide coverage for

losses stemming from SARS-CoV-2 virus and/or COVID-19, including Business

Income (“BI”), Extra Expense (“EE”) coverage, and coverage for loss due to the actions

of a Civil Authority.

       9.       At all times relevant, CIC insured Plaintiffs pursuant to insurance

policies drafted by CIC.

       10.      3 Squares LLC is insured pursuant to policy number EPP 049 15 94 /

EBA 049 15 94. A copy of the policy is attached as Exhibit 1.

       11.      Yusho LLC is insured pursuant to policy number ECP 050 44 94 / EBA

050 44 94. A copy of the policy is attached as Exhibit 2. (Exhibit 1 and 2 collectively

referred to as the “Policies”).

       12.      The Policies use standard common forms that contain the same and/or

substantially similar provisions at issue in this action.



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       13.    The Insurance Services Office, Inc. (“ISO”) publishes policy forms for use

by the insurance industry.

       14.    The Policies utilize, in part, policy forms and language published by the

ISO, as reflected by the ISO copyright designation at the bottom of numerous pages

of the Policies.

       15.    Prior to the effective date of the Policies, ISO published and made

available for use a standard virus exclusion form.

       16.    Defendant CIC chose not to include the ISO standard virus exclusion

form in the Policies.

       17.    Other than reference to a computer virus, the Policies include no

exclusion that references the word virus.

       18.    Plaintiffs’ Policies provide coverage for loss of Business Income (“BI”),

Extra Expense (“EE”) coverage, and coverage for loss due to the actions of a Civil

Authority.

       19.    Relevant portions of the Policies provide, subject to other terms, that

Defendant CIC:

              a. “…will pay for the actual loss of “Business Income” and “Rental
                 Value” you sustain due to the necessary “suspension” of your
                 “operations” during the “period of restoration”. The “suspension
                 must be caused by direct “loss” to the property at a “premises”
                 caused by or resulting from any Covered Cause of Loss;” and

              b. “…will pay Extra Expense you sustain during the “period of
                 restoration;” and

              c. “…will pay for the actual loss of Business Income you sustain
                 and necessary Extra Expense caused by action of civil authority
                 that prohibits access to the premises…” when a “Covered

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                Cause of Loss causes damage to property other than property
                at the described premises…”

      20.    The term “civil authority” is not defined in the Policies.

      21.    Defendant’s standardized language in the Policies regarding coverage

for loss of BI, EE coverage, and coverage for loss due to the actions of a Civil Authority

is present in every policy issued by CIC to Plaintiffs and the putative class members

as defined herein that provides coverage for loss of BI, EE coverage, and coverage for

loss due to the actions of a Civil Authority.

      22.    As typified by Plaintiffs’ experience, CIC chose not to provide coverage

for loss of BI, EE coverage, and coverage for loss due the actions of a Civil Authority

under claims tendered for losses due to SARS-CoV-2 at, in, on or around insureds’

premises, losses due to the spread of SARS-CoV-2 and/or COVID-19 in the community

(the “COVID-19 Pandemic”), or losses due to Civil Authority orders issued by the

Governor of Illinois and the Illinois Department of Health addressing SARS-CoV-2

and the COVID-19 Pandemic.

      23.    While the Policies were in force, Plaintiffs sustained, and continue to

sustain, loss(es) due to SARS-CoV-2 and COVID-19 at, in, on, and/or around their

premises described in the Policies.

      24.     While the Policies were in force, Plaintiffs sustained, and continue to

sustain, loss(es) due to the spread of SARS-CoV-2 and COVID-19 in the community.

      25.    While the Policies were in force, Plaintiffs sustained, and continue to

sustain, losses due to the civil authority orders issued by the Governor of Illinois and

the Illinois Department of Health addressing SARS-CoV-2 and COVID-19 Pandemic.

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                B. The SARS-CoV-2 Virus

          26.     SARS-CoV-2 is a virus.

          27.     SARS-CoV-2 is a physical substance.

          28.     SARS-CoV-2 can cause the illness known as COVID-19, which can be

lethal.

          29.     SARS-CoV-2 can be present outside the human body in viral fluid

particles.

          30.     SARS-CoV-2 can and does remain capable of being transmitted and

active on inert physical surfaces for a period of time.

          31.     SARS-CoV-2 can and does remain capable of being transmitted and

active on floors, walls, furniture, desks, tables, chairs, countertops, computer

keyboards, touch screens, cardboard packages, food items, silverware, plates, serving

trays, glasses, straws, menus, pots, pans, kitchen utensils, faucets, refrigerators,

freezers, and other items of property for a period of time.

          32.     SARS-CoV-2 can be transmitted by way of human contact with surfaces

and items of physical property on which SARS-CoV-2 particles are physically present.

          33.     SARS-CoV-2 has been transmitted by way of human contact with

surfaces and items of physical property located at premises in Illinois.

          34.     SARS-CoV-2 has been transmitted by human to human contact and

interaction at premises in Illinois, including places like bars and restaurants.

          35.     SARS-CoV-2 can be transmitted through airborne particles emitted into

the air at premises.



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      36.      SARS-CoV-2 has been transmitted by way of human contact with

airborne SARS-CoV-2 particles emitted into the air at premises in Illinois.

      37.      The presence of any SARS-CoV-2 particles renders items of physical

property unsafe.

      38.      The presence of any SARS-CoV-2 particles on physical property impairs

its value, usefulness and/or normal function.

      39.      The presence of any SARS-CoV-2 particles causes direct physical harm

to property.

      40.      The presence of any SARS-CoV-2 particles causes direct physical loss to

property.

      41.      The presence of any SARS-CoV-2 particles causes direct physical

damage to property.

      42.      The presence of any SARS-CoV-2 particles at premises renders the

premises unsafe, thereby impairing the premises’ value, usefulness and/or normal

function.

      43.      The presence of people infected with COVID-19 or carrying SARS-CoV-

2 particles renders physical property in their vicinity unsafe and unusable, resulting

in direct physical loss to that property.

      44.      The presence of people infected with COVID-19 or carrying SARS-CoV-

2 particles at premises renders the premises, including property located at that

premises, unsafe, resulting in direct physical loss to the premises and property.

            C. Illinois’ Response to SARS-CoV-2 and COVID-19



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       45.   In response to SARS-CoV-2 and the COVID-19 Pandemic, the Governor

of Illinois has issued multiple executive orders pursuant to the authority vested in

him by the Illinois Constitution and the laws of Illinois.

       46.   Similarly, the Illinois Department of Health, pursuant to its authority

under Illinois law, has issued multiple orders, including a Stay At Home Order.

       47.   Similarly, the City of Chicago, pursuant to its authority, has issued

orders, including curfew orders on all liquor sales throughout Chicago.

       48.   The State of Illinois is a civil authority as contemplated by the Policies.

       49.   The Illinois Department of Health is a civil authority as contemplated

by the Policies.

       50.   The Governor of the State of Illinois is a civil authority as contemplated

by the Policies.

       51.   The City of Chicago is a civil authority as contemplated by the Policies.

       52.   The Mayor of Chicago is a civil authority as contemplated by the

Policies.

       53.   On March 11, 2020, the World Heath Organization characterized the

COVID-19 outbreak as a pandemic.

       54.   On March 15, 2020, Illinois Governor J.B. Pritzker issued Executive

Order 2020-07 stating “it is necessary and appropriate for the State of Illinois to

immediately take measures to protect the public’s health in response to this COVID-

19 outbreak.” With this goal in mind, Governor Pritzker ordered that all bars and

restaurants close to the public effective March 16, 2020 to March 30, 2020 (later



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extended to April 30, 2020 per COVID-19 Executive Order No. 16) and prohibiting all

public and private gatherings of 50 people or more, in addition other strict mandates.

This order was in response to the physical presence of SARS-CoV-2 and the COVID-

19 Pandemic.

      55.    The stated goal of this order was to slow the spread of SARS-CoV-2 by

minimizing in-person interaction in an environment with “frequently used services

in public settings, including bars and restaurants…” The March 15 th order further

provided that “the ongoing spread of COVID-19 and the danger the virus poses to the

public’s health and wellness require the reduction of on-premises consumption of food

and beverages.”

      56.    On March 20, 2020, Governor Pritzker issued a Closure Order

(Executive Order 2020-10) (a.k.a., a Stay At Home Order) requiring all Illinois

residents to stay at home barring exceptions such as essential travel for essential

work or supplies, exercise and recreation, through April 7, 2020. Moreover, the

March 20th order reduced the allowable public and private gathering size to no more

than 10 people. The March 20th order was again in direct response to the continued

and increasing presence of SARS-CoV-2on property at or around Plaintiffs’ premises.

      57.    Like the March 16, 2020 Closure Order, the March 20, 2020 Order

prohibited the public from accessing Plaintiffs’ restaurants, thereby causing the

necessary suspension of their operations and triggering the Civil Authority coverage

under the Policy.




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      58.      On March 26, 2020, Chicago Mayor Lori Lightfoot shut down Chicago’s

most popular gathering spots, including the entire lakefront and all its parks, bike

trails and beaches.

      59.      On April 8, 2020, Mayor Lightfoot issued a sweeping curfew order, with

no definite end date, on all liquor sales across Chicago, banning sales after 9:00 p.m.

            D. Illinois’ Exercise of Civil Authority Closes Plaintiffs’ Businesses

      60.      Plaintiffs businesses do not qualify as Essential Businesses and were

required to cease and/or significantly reduce operations.

      61.      The civil authority orders, including, but not limited to the Stay At

Home Order, prohibit access to Plaintiffs’ premises described in the Policies.

      62.      The State of Illinois, through the Governor and the Department of

Health,     have issued, and continue to issue, authoritative orders governing

Illinoisans and Illinois businesses, including Plaintiffs in response to SARS-CoV-2

and the COVID-19 Pandemic, the effect of which have required and continue to

require Plaintiffs to cease and/or significantly reduce operations at, and that have

prohibited and continue to prohibit access to, the premises described in the Policies.

      63.      State and local governmental authorities, and public health officials

around the Country, acknowledge that SARS-CoV-2 and the COVID-19 Pandemic

cause direct physical loss and damage to property. For example:

            a. The state of Colorado issued a Public Health Order indicating
               that “COVID-19… physically contributes to property loss,
               contamination, and damage…” (Emphasis added);

            b. The City of New York issued an Emergency Executive Order in
               response to COVID-19 and the Pandemic, in part “because the

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               virus physically is causing property loss and damage.” (Emphasis
               added);

            c. Broward County, Florida issued an Emergency Order
               acknowledging that COVID-19 “is physically causing property
               damage.” (Emphasis added);

            d. The State of Washington issued a stay at home Proclamation
               stating the “COVID-19 pandemic and its progression… remains a
               public disaster affecting life, health, [and] property…” (Emphasis
               added);

            e. The State of Indiana issued an Executive Order recognizing
               that COVID-19 has the “propensity to physically impact surfaces
               and personal property.” (Emphasis added);

            f. The City of New Orleans issued an order stating “there is reason
               to believe that COVID-19 may spread amongst the population by
               various means of exposure, including the propensity to attach to
               surfaces for prolonged period of time, thereby spreading from
               surface to person and causing property loss and damage in certain
               circumstances.” (Emphasis added);

            g. The State of New Mexico issued a Public Health Order
               acknowledging the “threat” COVID-19 “poses” to “property.”
               (Emphasis added);

            h. North Carolina issued a statewide Executive Order in response to
               the Pandemic not only “to assure adequate protection for lives,”
               but also to “assure adequate protection of… property.” (Emphasis
               added); and

            i. The City of Los Angeles issued an Order in response to COVID-
               19 “because, among other reasons, the COVID-19 virus can
               spread easily from person to person and it is physically causing
               property loss or damage due to its tendency to attach to surfaces
               for prolonged periods of time.” (Emphasis added).

      64.      SARS-CoV-2 and the COVID-19 Pandemic are physically impacting

public and private property in Illinois and throughout the country.




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          65.   SARS-CoV-2 and the COVID-19 Pandemic have caused and continue to

cause direct physical loss and damage to property.

          66.   People in Illinois have been diagnosed with COVID-19.

          67.   People in Illinois have, and have had, SARS-CoV-2 but have not been

diagnosed with COVID-19.

          68.   People in Illinois have SARS-CoV-2 particles on or about their person

and personal property.

          69.   Properties and premises throughout Illinois contain the presence of

SARS-CoV-2 particles on surfaces and items of property.

          70.   It is probable that SARS-CoV-2 particles have been physically present

at Plaintiffs’ premises described in the Policies during the time the Policies were in

effect.

          71.   It is probable that SARS-CoV-2 particles have been physically present

on surfaces and items of property located at Plaintiffs’ premises described in the

Policies during the time the Policies were in effect.

          72.   It is probable that airborne SARS-CoV-2 particles have been physically

present at Plaintiffs’ premises described in the Policies during the time the Policies

were in effect.

          73.   It is probable that people carrying SARS-CoV-2 particles in, on or about

their person have been present at Plaintiffs’ premises described in the Complaint

during the time the Policies were in effect.




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         74.     It is probable that airborne SARS-CoV-2 particles have been physically

present at Plaintiffs’ premises described in the Policies during the time the Policies

were in effect.

         75.     Plaintiffs have sustained direct physical loss and damage to items of

property located at their premises and direct physical loss and damage to their

premises described in the Policies as a result of the presence of SARS-CoV-2 particles

and/or the Pandemic.

         76.     Plaintiffs submitted timely insurance claims to Defendant CIC.

         77.     Defendant CIC has denied Plaintiffs’ claims.



   IV.         CLASS ALLEGATIONS

         78.     Pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(1), and

23(b)(2), Plaintiffs bring this action on behalf of themselves and the following class

(the “Class”) of similarly situated persons:

         All Illinois businesses insured under a policy issued by The Cincinnati
         Insurance Company with the same operative language as policy form
         numbers EPP 049 15 94 and ECP 050 44 94 with Business Interruption,
         Extra Expense and Civil Authority coverage who were denied coverage
         or met with a reservation of rights arising out of a claim(s) for SARS-
         CoV-2, COVID-19, the COVID-19 Pandemic and/or Illinois’ civil
         authority “stay at home” order related losses.

         79.     The following are Excluded from the Class: Defendant, including any

parent, subsidiary, affiliate, or controlled person of Defendant; Defendant’s officers,

directors, agents, or employees; and the judicial officers assigned to this litigation,

and any members of their staffs and immediate families.



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      80.     Plaintiffs reserve the right to modify or amend the definition of the

proposed Class and/or to add subclasses, if necessary, before this Court determines

whether certification is appropriate.

            a. Numerosity

      81.     The precise number of class members for the Class are unknown to

Plaintiffs at this time but can be easily determined through appropriate discovery.

Plaintiffs believe that because Defendant is a large insurer with a notable presence

in the State of Illinois and – upon information and belief – writes millions of dollars

of business coverage premiums, the class of businesses affected by Defendant’s

practices described herein consists of hundreds of businesses or the class of

businesses affected are otherwise so numerous that joinder of all Class members is

impractical. The unlawful practice alleged herein is a standardized and uniform

practice, employed by Defendant pursuant to standardized insurance policy

language, and results in the retention by Defendant of insurance benefits properly

owed to Plaintiffs and the Class members. The class definition will permit the court

to reasonably ascertain whether any individual or entity is a member of the class as

any individual who or entity that is insured by Defendant and was denied coverage

for SARS-CoV-2 related losses covered by BI, EE, or Civil Authority provisions.

      82.     Upon information and belief, Defendant uniformly refuses to pay

insureds for SARS-CoV-2 related losses covered by BI, EE, and/or Civil Authority

provisions of its business insurance policies. Accordingly, the Class consists of many

hundreds, if not thousands, of Defendant’s insureds who were not paid or afforded



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coverage under the terms of their insurance policies. Thus, pursuant to Federal Rules

of Civil Procedure 23(a)(1), the large size of the Class renders the Class so numerous

that joinder of all individual members is impracticable.

            B. Commonality

      83.       Common questions of law and fact predominate in this matter because

Defendant’s conduct towards the members of the Class is identical. Defendant

uniformly refuses to pay for losses covered by BI, EE, and/or Civil Authority

provisions arising from SARS-CoV-2, COVID-19 and/or the COVID-19 Pandemic.

Indeed, upon information and belief, Defendant responds to every claim at issue with

an identical or near identical form letter reserving its rights and refusing to honor

the claim(s).

      84.       Plaintiffs share a common interest with all members of the putative

Class in the objects of the action and the relief sought.

      85.       Plaintiffs   satisfy   Federal    Rules   of   Civil   Procedure   23(a)(2)’s

commonality requirement because its claims arise from a practice which Defendant

applies uniformly to all the similarly situated Class members and are based on the

same legal theories as all other members of the putative class, that coverage for

SARS-CoV-2 related losses of BI, EE coverage, and coverage for loss due to the actions

of a Civil Authority. Because Defendant’s conduct was and is uniform as to all Class

members, the material elements of Plaintiffs’ claims and those of absent class

members are subject to common proof, and the outcome of Plaintiffs’ individual

actions will be dispositive for the Class. The common questions include, but are not



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limited to, the following: (1) whether SARS-CoV-2 can cause direct physical loss or

damage to property as stated in the common policy forms at issue; (2) whether SARS-

CoV-2 and/or COVID-19 is a covered cause of loss under the Policies; (3) whether the

COVID-19 Pandemic is a covered cause of loss under the Policies; (4) whether the

losses incurred by insureds as the result of the orders issued by the Governor of

Illinois and the Illinois Department of Health are covered losses under the Policies;

(5) whether insureds are entitled to coverage for their past and future Business

Income loss(es) and Extra Expense resulting from SARS-CoV-2, COVID-19 and/or the

COVID-19 Pandemic for the time period set forth in their Policies; (6) whether

insureds are entitled to coverage for loss(es) due to the actions of Illinois’ civil

authorities, including the Governor of Illinois and the Illinois Department of Health;

and (7) whether insureds have coverage for any substantially similar civil authority

order in the future that limits or restricts the access to insureds places of business

and/or their operations.

            C. Typicality

      86.      Pursuant to Federal Rules of Civil Procedure 23(a)(3), Plaintiffs’ claims

are typical of the claims of all other members of the Class because all such claims

arise from the Defendant’s failure to provide coverage for losses covered by BI, EE,

and/or Civil Authority provisions.

      87.      Plaintiffs and Class members’ legal claims arise from the same core

practices, namely, the refusal to provide coverage for SARS-CoV-2 related losses

covered by BI, EE, and/or Civil Authority provisions. The material facts underlying



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the claims of each putative class member are the same material facts as those

supporting the Plaintiffs’ claims alleged herein and require proof of the same material

facts.

               D. Adequacy

         88.     Plaintiffs can and will adequately represent the putative class and its

interests are common to, and coincident with, those of all absent class members. By

proving its individual claims, Plaintiffs will necessarily prove the claims of the

putative class and prove Defendant’s liability to the Class. Plaintiffs have no known

conflicts of interest with any members of the Class; their interests and claims are not

antagonistic to those of any other class members; nor are their claims subject to any

unique defenses.

         89.     The representative Plaintiffs therefore can and will fairly and

adequately protect and represent the interests of the Class under the criteria set forth

in Federal Rules of Civil Procedure 23(a)(4).

         90.     Plaintiffs’ counsel—Romanucci & Blandin, LLC, Spangenberg Shibley

& Liber, LLP, and Rutter & Russin, LLC—have extensive experience in complex

commercial litigation, insurance coverage dispute litigation, class actions, and have

adequate financial resources to ensure that the interests of the Class will not be

harmed.

         91.     If appointed class representatives, Plaintiffs are aware of, and are

committed to, faithfully upholding their fiduciary duties to absent Class members.

Plaintiffs and their counsel are committed to the vigorous prosecution of this action



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and will allocate the appropriate time and resources to ensure that the class is fairly

represented.

      92.      Plaintiffs and their counsel will therefore fairly and adequately assert

and protect the interests of the Class.

            E. Declaratory Relief Under Rule 23(b)(1)(A)

      93.      Pursuant to Federal Rules of Civil Procedure 23(b)(1)(A), class

treatment is warranted because the prosecution of separate actions by individual

class members would create a risk of inconsistent or varying adjudications with

respect to individual Class members that would establish incompatible standards of

conduct for the party opposing the class.

      94.      Defendant’s standardized language in the Policies and forms at issue

regarding coverage for loss BI, EE coverage, and coverage for loss due to the actions

of a civil authority is present in every CIC policy issued by Defendant to the putative

Class members that provides for coverage for loss of BI, EE coverage, and coverage

for loss due the actions of a Civil Authority.

      95.      As a result, separate actions brought by individual Class members

would possibly lead to a situation where identical language is interpreted differently.

            F. Declaratory Relief Under Rule 23(b)(2)

      96.      Pursuant to Federal Rules of Civil Procedure 23(b)(2), class treatment

is warranted because Defendant has acted or refused to act on grounds generally

applicable to all the members of the Class, thereby making final declaratory relief

concerning the Class as a whole appropriate.



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      97.     Because declaratory relief is sought, class treatment ensures uniformity

and consistency in results, enables the many small claims of Class members as well

as claims for class-wide declaratory relief to be brought efficiently, and will provide

optimum relief to Class members for their past and future injuries, as well as deter

Defendant and other similar businesses from engaging in such wrongful conduct in

the future.

      98.     Because Defendant has acted consistently towards all members of the

Class, declaratory relief is appropriate with respect to both the Class and Plaintiff’s

claims and is likewise subject to common proof and adjudication.

      99.     Based on the foregoing, class treatment is the most fair and efficient

form of adjudication for this matter.

                      COUNT I: DECLARATORY JUDGMENT

      100.    The allegations contained in the foregoing paragraphs are hereby

incorporated by reference.

      101.    Plaintiffs bring this count on behalf of themselves and all members of

the Class.

      102.    There is a dispute about whether Plaintiffs and the Class members are

entitled to coverage under the Policies for their loss(es) sustained and to be sustained

in the future as described herein. Accordingly, Plaintiffs are entitled to declaratory

relief from this Court pursuant to 735 ILCS 5/2-701 on behalf of itself and the Class.

      103.    Plaintiffs are entitled to and demand a declaration that:




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          a. Plaintiffs and the Class members sustained direct physical loss or
             damage to property at theirs premises described in the Policies as a
             result of SARS-CoV-2, COVID-19 and/or the COVID-19 Pandemic;

          b. SARS-CoV-2 and/or COVID-19 is a covered cause of loss under the
             Policies;

          c. The COVID-19 Pandemic is a covered cause of loss under the Policies;

          d. The losses incurred by Plaintiffs and the Class members as the result of
             the orders issued by the Governor of Illinois and the Illinois Department
             of Health are covered losses under the Policies;

          e. Defendant CIC has not and cannot prove the application of any
             exclusion or limitation to the coverage for Plaintiffs and the Class
             members losses alleged herein;

          f. Plaintiffs and the Class members are entitled to coverage for their past
             and future Business Income loss(es) and Extra Expense resulting from
             SARS-CoV-2, COVID-19 and/or the COVID-19 Pandemic for the time
             period set forth in the Policies;

          g. Plaintiffs and the Class members are entitled to coverage for loss(es) due
             to the actions of Illinois civil authorities, including the Governor of
             Illinois and the Illinois Department of Health;

          h. Plaintiffs and the Class members have coverage for any substantially
             similar civil authority order in the future that limits or restricts the
             access to Plaintiffs or the Class members’ places of business and/or their
             operations; and

          i. Any other issue that may arise during the course of litigation that is a
             proper issue on which to grant declaratory relief.

      104.   Plaintiffs and the Class members do not seek a determination of their

damages resulting from SARS-CoV-2, the COVID-19 or the COVID-19 Pandemic. If

there is a dispute between the parties as to the amount of the loss, the Policies provide

that such a dispute should be resolved by Appraisal:

             Appraisal



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             If we and you disagree on the value of the property, the amount
             of Net Income and operating expense, or the amount of "loss",
             either may make written demand for an appraisal of the "loss". In
             this event, each party will select a competent and impartial
             appraiser. The two appraisers will select an umpire. If they
             cannot agree, either may request that selection be made by judge
             of a court having jurisdiction. The appraisers will state separately
             the value of the property, the amount of Net Income and operating
             expense, and amount of "loss". If they fail to agree, they will
             submit their differences to the umpire. A decision agreed to by
             any two will be binding. Each party will:

             a. Pay its chosen appraiser; and

             b. Bear the other expenses of the appraisal and umpire equally.

             If there is an appraisal, we still retain our right to deny the claim.
             (FM 101 05 16, page 30 of 40)

      105.   Plaintiffs, individually and on behalf of those similarly situated, pray

for declaratory relief from the Court that Defendant CIC must resolve any dispute

about the amount of loss via Appraisal. Plaintiffs also request the Court to appoint

the umpire if the appraisers cannot agree.

      106.   Plaintiffs, individually and on behalf of those similarly situated, pray

for any further relief the Court deems proper, including attorney fees, interest, and

costs as allowed by law or in the exercise of the Court’s equitable jurisdiction.

      WHEREFORE, Plaintiffs, individually and on behalf of those similarly

situated, seek judgment against Defendant CIC, as set forth above, plus interest,

costs, and attorney fees as allowed by law.

                          DEMAND FOR TRIAL BY JURY




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Dated: May 4, 2020                            Respectfully Submitted,


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